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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


      NAVY SEAL 1, et al.,

                   Plaintiffs,

      v.                                           Case No. 8:21-cv-2429-SDM-TGW

      LLOYD AUSTIN, Secretary of the
      Department of Defense, et al.,

                   Defendants.
                                               /

      COLONEL FINANCIAL MANAGEMENT
      OFFICER, et al., on behalf of himself and others
      similarly situated,

                   Plaintiffs,

      v.                                           Case No. 8:22-cv-1275-SDM-TGW

      LLOYD AUSTIN, Secretary of the
      Department of Defense, et al.,

                   Defendants.
                                               /

      PILOT, et al.,


                   Plaintiffs,

      v.                                           Case No. 8:22-cv-1278-SDM-TGW

      LLOYD AUSTIN, Secretary of the
      Department of Defense, et al.,

                   Defendants.
                                               /
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                                           NOTICE

            The parties have met in good faith to conduct settlement discussions in the

      matters of Navy Seal 1 et al v. Austin et al, 8:21-cv-02429-SDM-TGW; Colonel

      Financial Management Officer, et al v. Austin, III, et al, 8:22-cv-01275-SDM-

      TGW; and Pilot, et al v. Austin, III et al, 8:22-cv-01278-SDM-TGW. The parties

      have been unable to come to an agreement. Therefore, the undersigned declares an

      impasse as to these matters at this time.




      cc:   Counsel of Record




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